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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

WALEED ALZAHRANI,              )
                               )
      Plaintiff,               )
                               )
      v.                       ) Case No.: 1:17-cv-04128-TWP-MJD
                               )
INDIANA UNIVERSITY,            )
INDIANA UNIVERSITY-PURDUE      )
UNIVERSITY INDIANAPOLIS,       )
BRIAN TOMLINSON, JASON SPRATT, )
and MARIA HINTON               )
                               )
      Defendants.              )

                            JOINT MOTION TO STAY PROCEEDINGS

        Plaintiff Waleed Alzahrani and Defendants Indiana University, Indiana University-Purdue

University Indianapolis, Brian Tomlinson, Jason Spratt and Maria Hinton (collectively, the “IU

Defendants”), by counsel, jointly and respectfully move for a 180-day stay of further proceedings

in this Court pending the results of Mr. Alzahrani’s efforts to transfer to another graduate program

to complete his doctoral degree in respiratory therapy. If this Motion is granted, the parties would

file a Joint Status Report and proposed Amended Scheduling Order within fourteen (14) days of

the conclusion of the 180-day stay (or earlier, if Mr. Alzahrani determines that transfer is no longer

available) regarding any further proceedings in this Court. As good cause for this Motion, the

parties state as follows:

        1.        A trial court has broad discretion to stay proceedings. Landis v. N. Am. Co., 299

U.S. 248, 254 (1936). “[T]he power to stay proceedings is incidental to the power inherent in

every court to control the disposition of the causes on its docket with economy of time and effort

for itself, counsel, and for litigants.” Id. at 254.
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       2.       “[T]he decision to grant a stay, like the decision to grant an evidentiary hearing,

is ‘generally left to the sound discretion of district courts.’” Ryan v. Gonzales, 568 U.S. 57, 74

(2013) (quoting Schriro v. Landrigan, 550 U.S. 465, 473 (2007)). This decision “calls for the

district court, in ‘the exercise of judgment,’ to ‘weigh competing interests and maintain an even

balance’ between the court’s interest in judicial economy and any possible hardship to the parties.”

Belize Soc. Dev. Ltd. V. Gov’t of Belize, 668 F.3d 724, 732-33 (D.C. Cir. 2012) (quoting Landis,

299 U.S. at 254-55).

       3.       Plaintiff filed his Complaint for Damages on January 30, 2018. See ECF No. 1.

Plaintiff’s Complaint alleges that Mr. Alzahrani was expelled from his doctoral program at IUPUI

after his wife, Alaa Bugis, accused him of rape, physical violence, and verbal abuse. Plaintiff’s

Complaint includes legal claims against the IU Defendants for the alleged deprivation of his due

process rights (42 U.S.C. § 1983, against all Defendants), for the alleged violation of Title IX of

the Education Amendments of 1972 (against all Defendants), for the alleged deprivation of his due

process rights under the Indiana Constitution (against all individual Defendants), for alleged

negligence (against all Defendants), and for alleged defamation (against all Defendants).

       4.       Plaintiff contends in his Complaint that he is being sued by the Kingdom of Saudi

Arabia for $8,300,000.00 because he did not complete his Ph.D. at IUPUI. See ECF No. 1 at ¶

113. Accordingly, Plaintiff’s Complaint “seeks equitable relief under the Indiana Constitution in

the form of an affirmative injunction instructing IU/IUPUI to confer his Ph.D. upon him”, in

addition to compensatory and punitive damages and the reimbursement of all attorney fees and

expenses. See ECF No. 1 at ¶ 145.

       5.       Plaintiff concedes it is unlikely he will be able to avoid prosecution by the

Kingdom of Saudi Arabia unless he completes his Ph.D. degree.
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        6.       Counsel for the parties agree that IU/IUPUI will not voluntarily reinstate Plaintiff

and confer an IU doctoral degree upon Plaintiff in the absence of a court order and that such order

is an unlikely remedy in the current litigation.

        7.       Given the above reality, the parties would like to stay this litigation for 180 days

to allow Mr. Alzahrani an opportunity to explore transferring to another respiratory therapy

graduate program.

        8.       If Mr. Alzahrani is able to successfully transfer to another graduate program, both

parties agree that this matter will be settled and it will terminate this litigation.

        9.       The IU Defendants are agreeing to this Joint Motion to Stay Proceedings in lieu

of filing their Motion to Dismiss Plaintiff’s Complaint and supporting pleadings, which would

otherwise be due today. If the Court is unwilling to allow the stay, the IU Defendants respectfully

request that they be permitted an additional five (5) day enlargement from the date of the Court’s

denial to file their Motion. Plaintiff’s counsel consents to this enlargement, if it is necessary.

        10.      A brief 180-day stay of further proceedings would promote judicial economy and

conserve the resources of the parties. The parties are optimistic that Mr. Alzahrani will be able to

transfer to another graduate program. If the stay is denied, the parties and the Court will waste

valuable resources litigating a dispute that may otherwise resolve on its own accord if the transfer

is allowed.

        11.      If the Court issues an Order staying further proceedings, the parties will file a

Joint Status Report and proposed Amended Scheduling Order within fourteen (14) days of the

conclusion of the 180-day stay (or earlier, if Mr. Alzahrani determines that transfer is no longer

available) regarding any further proceedings in this Court.
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       WHEREFORE, Plaintiff Waleed Alzahrani and Defendants Indiana University, Indiana

University-Purdue University Indianapolis, Brian Tomlinson, Jason Spratt and Maria Hinton

jointly and respectfully request that the Court issue an Order staying further proceedings for 180

days pending the results of Mr. Alzahrani’s efforts to transfer to another graduate program to

complete his doctoral degree in respiratory therapy, and for all other just and proper relief.



Dated: March 19, 2018                         Respectfully submitted,


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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 19, 2018, a copy of the foregoing was filed electronically.

Service of this filing will be made on ECF-registered counsel by operation of the court’s

electronic filing system. Parties may access this filing through the Court’s system.

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                                              /s/ Jonathan D. Mattingly________________
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